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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                   *


vs.                                             *   Case No.: 22-15 APM


THOMAS E. CALDWELL                              *
(U.S. v. Elmer Stewart Rhodes)
       *     *      *     *          *      *       *      *      *       *       *


      Caldwell’s Opposition to the Government’s Motion in Limine (ECF No. 214)

         COMES NOW, the Defendant, Thomas E. Caldwell (“Caldwell”), by and through

his attorney, David W. Fischer, Esq., and respectfully moves this Court to deny requests

by the Government for the Court to exclude certain evidence from trial, and in support of

said motion states:

      1. On July 29, 2022 the Government filed a Motion in Limine seeking to exclude

         from evidence, inter alia, “evidence pertaining to defendants’ diminished physical

         capacity,” “testimony regarding mental health or medications,” and “testimony

         regarding . . . [the defendant’s] veteran disability status.” (ECF No. 214 at 7-9).

      2. Caldwell has not proffered “expert” testimony to use at trial regarding his physical

         condition. The Government, however, is fully aware of Caldwell’s documented,

         debilitating medical conditions and use of prescription medications in relation to

         the time-frame of the alleged conspiracy. In addition to a detailed FBI interview

         on January 19, 2021 wherein Caldwell provided agents with a detailed laundry-list

         of his ailments and prescription medications, undersigned counsel and previous


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   defense counsel have saturated prior court filings with representations regarding

   Caldwell’s physical disabilities. Additionally, three weeks ago undersigned

   counsel provided the Government with medical documentation from multiple

   physicians as to Caldwell’s most substantial ailments and proof from the Veterans

   Administration of his status as a 100% service-connected disabled veteran.

   Finally, discovery revealed that the FBI, as part of its investigation, sought and

   received Caldwell’s military records from the Department of Defense which,

   presumably, included his service-connected medical issues.

3. Caldwell’s compromised physical condition on or about January 6, 2021 included:

   a prior lower back fusion surgery at L4, L5, and S1; two cervical discs that

   naturally fused because of disc degeneration; a mid-spine discectomy operation in

   August of 2020 to shave off a protruding disc; a left arm that is fastened onto his

   torso at the shoulder by means of a surgically-installed screw; two prior surgeries

   on his right shoulder to remove grinded-off bone and cartilage; a cartilage-free,

   bone-on-bone right hip socket that resulted in a total hip replacement three months

   ago; and a 2007 left ankle surgery to reattach tendons and ligaments. Virtually all

   of the Caldwell’s ailments are connected to his service in the Navy.

4. As to the time-frame of the charged conspiracy, Caldwell, his wife, and multiple

   witnesses are prepared to testify that Caldwell had the above-referenced medical

   issues and accompanying, significant physical limitations, such as: the inability to

   run or jump; limited arm and shoulder mobility; difficulty climbing stairs; inability



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   to do basic yard work; diminished upper and lower body strength; and the frequent

   use of a cane to walk.

5. Caldwell and his wife are also prepared to testify that Caldwell, who is prescribed,

   inter alia, Opana, took extra medication the morning of January 6—akin to a

   professional athlete taking a cortisone shot—just to bear the pain of standing up

   for several hours. Caldwell’s liberal use of Opana on January 6 is relevant

   because the jury may be puzzled as to how a person with Caldwell’s claimed

   disabilities could possibly walk to the Capitol and climb a flight of stairs.

   Additionally, Caldwell’s multiple prescriptions, which were observed by the FBI

   at the time of his arrest, are obviously relevant to back up his claims regarding

   physical disabilities and limitations.

6. Caldwell’s physical condition on or about January 6, 2021 is highly relevant to

   multiple issues. First, the Government has made multiple, sweeping claims that

   Caldwell was the leader of a Quick Reaction Force (“QRF”) composed of

   commando-types who were ready to descend upon the U.S. Capitol on J6.

   Caldwell, according to the Government, was also poised to captain a boat on the

   Potomac and deliver weapons in furtherance of the alleged conspiracy. Caldwell’s

   debilitations belie that he had the physical strength to engage in combat, assaultive

   behavior, ferrying “heavy” weapons to others, or that he could even stand up on a

   boat in the choppy waters of the Potomac River.

7. Additionally, the Government has cited Caldwell’s Facebook messages wherein he

   talked about picking up his American flag and leading a charge up Capitol Hill.

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   Again, evidence of Caldwell’s physical limitations is relevant and probative as to

   whether he was physically capable of actually charging up Capitol Hill.

8. Further, the Government has previously cited at least a dozen text messages

   wherein Caldwell talked about “storming barricades,” “smiting them down,”

   “hunting,” and other macho statements which, out of context, make Caldwell

   sound like a person capable and intent on doing great violence. Evidence of

   Caldwell’s physical condition is relevant to demonstrate to the jury that he was

   incapable of engaging in the macho acts he mused about in private messages on

   Facebook.

9. Additionally, Caldwell is charged with crimes where the ability to use force is

   either an essential element of the offense or is a “method and means” referred to in

   the Indictment. Seditious conspiracy, for example, requires an intent to use force

   which, accordingly, makes Caldwell’s inability to use physical force relevant on

   that issue. Moreover, allegations that Caldwell aided and abetted others in

   pushing into the Capitol to obstruct the Electoral College certification would seem

   less plausible to a jury in light of Caldwell’s physical limitations. Finally, the

   simple fact that Caldwell is in severely compromised health would make it less

   likely in the eyes of a jury that his intent in going to Washington, D.C. on J6 was

   to engage in violence.

10. Next, evidence of Caldwell’s “veteran disability status” is admissible. First,

   Caldwell’s designation by the Veteran’s Administration as “100% disabled” backs

   up his assertions about his physical disabilities. Second, Caldwell’s military

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       background was put at issue by the Government, which initially claimed that

       Caldwell “held a leadership role in the Oath Keepers” organization based upon

       Facebook messages wherein others referred to Caldwell as “the Commander.”

       Caldwell will have to address these messages and explain that he was not the

       “Commander” of the Oath Keepers but, rather, a retired Lt. Commander in the

       U.S. Navy. Accordingly, Caldwell or others will be required to testify about

       Caldwell’s military service, his rank, and the circumstances of his separation from

       the Navy. Third, evidence that Caldwell is a 100% disabled veteran is relevant

       because his status made him ineligible to be called upon by the President under the

       Insurrection Act to act as a member of the militia. Accordingly, Caldwell, who

       was not an Oath Keeper, was not required to follow the orders of either the

       President or the leader of the Oath Keepers to bring weapons into the District.

                                       Conclusion

       For the foregoing reasons, Caldwell requests that the Court deny the

Government’s request to exclude from evidence testimony and other proof regarding his

disabilities, handicaps, physical limitations, use of prescription medications, V.A.

disability designation, and other similar issues.




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                                   Respectfully Submitted,
                                         /s/___________________
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                            CERTFICATE OF SERVICE


        I HEREBY CERTIFY that on this 30th day of July, 2022, a copy of the foregoing
Opposition to the Government’s Motion in Limine (ECF No. 214) was electronically
filed with the Clerk of the United States District Court using CM/ECF, with a notice of
said filing to the following:
      Counsel for the Government:        Office of the United States Attorney
                                         Kathryn Rakoczy, AUSA
                                         Jeffrey Nestler, AUSA
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                                         Washington, DC 20001

                                                    /s/___________________
                                               David W. Fischer, Esq.




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